    Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 1 of 6 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                               )
an individual,                            )
                                          )
       Plaintiff,                         )            Case No:
                                          )
v.                                        )
                                          )
ADAMS FOUR ASSOCIATES, L.P.,              )
a Delaware Limited Liability Partnership, )
                                          )
       Defendant.                         )
____________________________________/

                                          COMPLAINT

       Plaintiff, JOHN NANNI, an individual, by and through his undersigned counsel, hereby

files this Complaint and sues ADAMS FOUR ASSOCIATES, L.P., a Delaware Limited Liability

Partnership, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. §§ 12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and states as follows:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

       3.      Plaintiff, JOHN NANNI, (hereinafter referred to as “Plaintiff” or “MR. NANNI”)

is a resident of the State of Delaware.

       4.      MR. NANNI is a qualified individual with a disability under the ADA. MR.

NANNI suffers from Post-Polio Syndrome. MR. NANNI can only walk a very limited distance

each day, and is otherwise confined to a wheelchair.



                                                 1
    Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 2 of 6 PageID #: 2




        5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

        6.      The Defendant, ADAMS FOUR ASSOCIATES, L.P., (hereinafter referred to as

“DEFENDANT”) is a Delaware Limited Liability Partnership registered to do business in

Delaware. DEFENDANT is the owner, lessee, and/or operator of the place of public

accommodation including the real property and improvements which is the subject of this action,

to wit: Adams Four Shopping Center, generally located at 800 W. 4th Street, Wilmington, DE

19801 (“the Property”). The Defendant is responsible for complying with the obligations of the

ADA.

        7.      All events giving rise to this lawsuit occurred in the District of Delaware.

                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

        8.      The allegations set forth in the preceding paragraphs above are incorporated by

reference as if fully set forth herein.

        9.      The Property, a shopping plaza, is a place of public accommodation and is therefore

subject to Title III of the ADA.

        10.     MR. NANNI has visited the Property several times during the past year, he last

visited the Property in early January 2022, he regularly travels to the area where the Property is

situated and plans to return to the Property in the near future.

        11.     During his visits, MR. NANNI experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers as discussed herein.

        12.     MR. NANNI intends to and will visit the Property to utilize the goods and services

in the future, but fears that he will face the same barriers to access as discussed herein.




                                                  2
    Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 3 of 6 PageID #: 3




       13.        Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.304 et seq. by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to have

accessible facilities by January 26, 1992. These barriers to access include, but are not limited to

the following items which plaintiff personally observed and/or encountered at the Property:

             A.       Plaintiff personally encountered inaccessible parking due to lack of

                      signage and faded markings. Specifically, two (2) of the three (3)

                      parking spaces designated for disabled use in front of Rite-Aid Pharmacy

                      are missing signage. Additionally, several of the other disabled use

                      parking spaces throughout the Property near Rent-A-Center and Great

                      Value Markets have extremely faded paint markings which are

                      confusing as to whether they are intended as disabled use spaces. These

                      conditions made it difficult for Plaintiff to identify the designated

                      disabled parking areas throughout the Property.

             B.       Plaintiff personally encountered inaccessible parking throughout the

                      Property due to slopes in excess of 1:48 within the spaces and/or their

                      access aisles. This condition made it more difficult for Plaintiff to

                      transfer into and out of his vehicle safely.

             C.       Plaintiff personally encountered inaccessible routes throughout the

                      Property between the disabled use parking spaces and the tenant

                      entrances due to sidewalks with excessive long and cross-slopes and a

                      lack of handrails where the slope exceeds 5%. This forced Plaintiff to

                      utilize extra caution maneuvering along the sidewalks to the tenant


                                                    3
    Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 4 of 6 PageID #: 4




                      entrances and increased his risk of a fall.

             D.       Plaintiff personally encountered an inaccessible entrance to Great Value

                      Markets due to shopping cart barricades surrounding the store entrance

                      doors which have the effect of preventing entry by persons in a

                      wheelchair, including Plaintiff. The barricades have openings wide

                      enough for a person to walk through but not wide enough to

                      accommodate a wheelchair (or shopping cart). Furthermore, the

                      passthrough gate has been padlocked during each of his visits and

                      Plaintiff could not gain access to the store. Importantly, there is no way

                      to make a request that the padlocked gate be opened to allow him to

                      access the premises. This created serious inconvenience and

                      embarrassment each time Plaintiff attempted to enter the store and

                      completely prevented his access due to his disability.

             E.       Plaintiff personally encountered inaccessible curb ramps throughout the

                      Property due to excessive running slopes over 1:12, steep side flare

                      slopes in excess of 1:10 and pavement in disrepair. Additionally, the

                      curb ramp near America’s Best Wings is obstructed by the parking

                      bumper.      These issues forced Plaintiff to utilize extra caution

                      maneuvering over the ramps and increased his risk of a fall.

       14.        To date, the architectural barriers and other violations of the ADA which are readily

achievable to remove still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

                                                    4
    Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 5 of 6 PageID #: 5




       15.     Independent of his intent to return as a patron of the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied. However, but for the above-described barriers to access, Plaintiff

would visit the Property more often.

       16.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.

       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by DEFENDANT is

               in violation of the ADA;

       B.      That the Court enter an Order directing DEFENDANT to alter the facilities to make

               them accessible to and usable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That the Court enter an Order directing DEFENDANT to evaluate and neutralize

               the policies and procedures towards persons with disabilities for such reasonable

               time so as to allow DEFENDANT to undertake and complete corrective

               procedures.



                                                   5
  Case 1:22-cv-00104-MN Document 1 Filed 01/26/22 Page 6 of 6 PageID #: 6




     D.     That the Court award reasonable attorneys’ fees, costs (including expert fees), and

            other expenses of suit, to the Plaintiff; and that the Court award such other and

            further relief as it deems necessary, just and proper.

     E.     That this Court award Plaintiff such other additional and proper relief as may be

            just and equitable.

Dated: January 26, 2022
                                   Respectfully Submitted,


                           By: /s/ David T. Crumplar
                                   David T. Crumplar (#5876)
                                   Jacobs & Crumplar, P.A.
                                   Of Counsel
                                   750 Shipyard Drive
                                   Suite 200
                                   Wilmington, DE 19801
                                   Tel.: (302) 656-5445
                                   Fax: (302) 656-5875
                                   E-Mail: davy@jcdelaw.com

                                           -and-
                                   KU & MUSSMAN, P.A.
                                   18501 Pines Blvd, Suite 209-A
                                   Pembroke Pines, FL 33029
                                   Tel: (305) 891-1322
                                   Fax: (954) 686-3976




                                              6
